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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                       WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                                       NO. 4:01CR00125-006 SWW

FRANK FORD MALLETT, JR.


                                                          ORDER

         The above entitled cause came on for hearing on petitions to revoke

the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.                                                     Upon the

basis of the admissions of defendant, the Court found that defendant has

violated the conditions of his supervised release without just cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motions

are granted,1 and the supervised release previously granted this defendant

in the above matter be, and it hereby is, revoked.

         IT     IS     FURTHER        ORDERED         that      defendant          shall       serve        a   term   of

imprisonment of TEN (10) MONTHS in the custody of the Bureau of Prisons.

The Court recommends that defendant be incarcerated in the facility

located        in     Beaumont,          Texas,        if    he     will      be     in     the     “low”       section.

Otherwise, the Court recommends incarceration in Memphis, Tennessee.

         Upon release from imprisonment, defendant shall serve a term of FIVE

(5) YEARS of supervised release, less the term of imprisonment, which

shall be on the same terms and conditions as previously ordered in this

matter.         In addition to conditions previously imposed, defendant shall



         1
         The Court granted, without prejudice, the government’s motion to withdraw the allegation in the petition of
November 21, 2006, relating to defendant’s state court charges.
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participate under the guidance and supervision of the U. S. Probation

Office, in a substance abuse treatment program which may include testing,

out-patient counseling and/or residential treatment.     Further, defendant

shall abstain from the use of alcohol throughout the course of any

treatment.

     Execution of the sentence of imprisonment is suspended until Monday,

March 5, 2007, no later than 12:00 noon, at which time defendant shall

report to the office of the United States Marshal in Little Rock.

Defendant is eligible to self-report to the designated facility.

     The defendant shall remain on the same conditions of release until

the reporting date.

     IT IS SO ORDERED this 12th day of January, 2007.



                                        /s/Susan Webber Wright

                                        UNITED STATES DISTRICT JUDGE
